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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Maplevale Farms, Inc., et al.
                                     Plaintiff,
v.                                                     Case No.: 1:16−cv−08637
                                                       Honorable Thomas M. Durkin
Mar−Jac Holdings, Inc., et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 8, 2022:


        MINUTE entry before the Honorable Thomas M. Durkin: Telephone hearing held
on 2/8/2022. For the reasons stated on the record, Defendant Tyson Foods, Inc.'s Motion
for Preliminary and Permanent Injunctions [5355] is denied. Mailed notice. (ecw, )




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